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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11     UNITED STATES OF AMERICA,                         No. 1:16-cr-00122-DAD-BAM
12                        Plaintiff,
13            v.                                         ORDER DENYING WITHOUT PREJUDICE
                                                         DEFENDANT ALFONSO ESPARZA’S
14     ALFONSO ESPARZA,                                  EMERGENCY MOTION TO REDUCE
                                                         SENTENCE UNDER 18 U.S.C.
15                        Defendant.                     § 3582(c)(1)(A)
16                                                       (Doc. No. 368)
17

18

19           Pending before the court is defendant Alfonso Esparza’s motion for a reduction of his

20    sentence pursuant to 18 U.S.C. § 3582(c)(1)(A). The motion is based upon the risks to defendant

21    posed by the ongoing coronavirus (“COVID-19”) outbreak. (Doc. No. 368.) For the reasons

22    explained below, defendant’s motion will be denied without prejudice.

23                                             BACKGROUND

24           On March 25, 2019, following his plea of guilty to conspiracy to distribute and possess

25    with intent to distribute a controlled substance in violation of 21 U.S.C. §§ 841(a)(1), 846, the

26    court sentenced defendant Alfonso Esparza to 120 months imprisonment in the custody of the

27    U.S. Bureau of Prisons (“BOP”), to be followed by a 60-month term of supervised release. (Doc.

28    No. 337, 339.) The court also imposed the mandatory $100 special assessment. (Doc. No. 339.)
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 1    Defendant is currently serving his sentence at Federal Correctional Institution, Danbury (“FCI

 2    Danbury”). (See Doc. No. 368 at 2.) At the time he filed his motion, defendant had served only

 3    approximately 13 months of his sentence. (Id. at 2.)

 4           On April 30, 2020, defendant filed the pending motion for compassionate release pursuant

 5    to 18 U.S.C. § 3582(c)(1)(A). (Id.) On May 21, 2020, the government filed its opposition to the

 6    motion, and on June 4, 2020, defendant filed his reply thereto. (Doc. Nos. 370, 374.)

 7                                         LEGAL STANDARD

 8           A court generally “may not modify a term of imprisonment once it has been imposed.”

 9    18 U.S.C. § 3582(c); see also Dillon v. United States, 560 U.S. 817, 824 (2010) (“‘[A] judgment

10    of conviction that includes [a sentence of imprisonment] constitutes a final judgment’ and may

11    not be modified by a district court except in limited circumstances.”). Those limited

12    circumstances include compassionate release in extraordinary cases. See United States v. Holden,

13    __ F. Supp. 3d __, 2020 WL 1673440, at *2 (D. Or. April 6, 2020). Prior to the enactment of the

14    First Step Act of 2018 (“the FSA”), motions for compassionate release could only be filed by the

15    BOP. 18 U.S.C. § 3582(c)(1)(A) (2002). Under the FSA, however, imprisoned defendants may

16    now bring their own motions for compassionate release in the district court. 18 U.S.C.

17    § 3582(c)(1)(A) (2018). In this regard, the FSA specifically provides that a court may

18                   upon motion of the defendant after the defendant has fully exhausted
                     all administrative rights to appeal a failure of the [BOP] to bring a
19                   motion on the defendant’s behalf1 or the lapse of 30 days from the
                     receipt of such a request by the warden of the defendant’s facility,
20                   whichever is earlier, may reduce the term of imprisonment (and may
                     impose a term of probation or supervised release with or without
21                   conditions that does not exceed the unserved portion of the original
                     term of imprisonment), after considering the factors set forth in [18
22                   U.S.C. §] 3553(a) to the extent that they are applicable, if it finds
                     that –
23

24    1
        If the BOP denies a defendant’s request within 30 days of receipt of such a request, the
      defendant must appeal that denial to the BOP’s “Regional Director within 20 calendar days of the
25    date the Warden signed the response.” 28 C.F.R. § 542.15(a). If the regional director denies a
26    defendant’s administrative appeal, the defendant must appeal again to the BOP’s “General
      Counsel within 30 calendar days of the date the Regional Director signed.” Id. “Appeal to the
27    General Counsel is the final administrative appeal.” Id. When the final administrative appeal is
      resolved, a defendant has “fully exhausted all administrative rights.” See 18 U.S.C.
28    § 3582(c)(1)(A).
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 1                   (i)    extraordinary and compelling reasons warrant such a
                            reduction; or
 2
                     (ii)   the defendant is at least 70 years of age, has served at least 30
 3                          years in prison, pursuant to a sentence imposed under section
                            3559(c), for the offense or offenses for which the defendant
 4                          is currently imprisoned, and a determination has been made
                            by the Director of the Bureau of Prisons that the defendant is
 5                          not a danger to the safety of any other person or the
                            community, as provided under section 3142(g);
 6
                     and that such a reduction is consistent with applicable policy
 7                   statements issued by the Sentencing Commission . . ..

 8    18 U.S.C. § 3582(c)(1)(A)(i) and (ii).2
 9           The applicable policy statement with respect to compassionate release in the U.S.
10    Sentencing Guidelines sets out criteria and circumstances describing “extraordinary and
11    compelling reasons.” U.S. Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.133; see also
12
      2
        Under 18 U.S.C. § 3624(c)(2), the BOP may release an incarcerated defendant to home
13    confinement “for the shorter of 10 percent of the term of imprisonment of that prisoner or 6
      months.” The Coronavirus Aid, Relief, and Economic Security Act (“the CARES Act”), Pub. L.
14
      116-136, expands the BOP’s authority to release incarcerated defendants without judicial
15    intervention. The CARES Act allows the BOP to “lengthen the maximum amount of time” for
      which a prisoner may be placed in home confinement under § 3624(c)(2) “as the Director
16    determines appropriate,” assuming “the Attorney General finds that emergency conditions will
      materially affect the functioning” of the BOP. CARES Act, Pub. L. 116-136, Div. B, Title II,
17    § 12003(b)(2) (2020). However, the BOP’s authority in this regard is limited to “the covered
      emergency period.” Id. The BOP’s authority expires “30 days after the date on which the
18
      national emergency declaration terminates.” Id. § 12003(a)(2). After the CARES Act was
19    enacted, the Attorney General issued a memo instructing the BOP to “immediately review all
      inmates who have COVID-19 risk factors” beginning with those who are housed at facilities
20    where “COVID-19 is materially affecting operations.” Office of Att’y Gen., Increasing Use of
      Home Confinement at Institutions Most Affected by COVID-19 (Apr. 3, 2020). The BOP has
21    acted on the Attorney General’s guidance, including one case in which a sentenced prisoner was
22    released to home confinement after serving less than half his sentence from a facility that reported
      no positive COVID-19 cases at the time of his release. See Hannah Albarazi, Paul Manafort
23    Seeks Prison Release Over COVID-19 Fears, LAW360 (Apr. 14, 2020), https://www.law360.
      com/articles/1263706/paul-manafort-seeks-prison-release-over-covid-19-fears (noting that the
24    prisoner’s counsel had argued that the CARES Act “broadens the authority” of the BOP to release
      prisoners to home confinement); Khorri Atkinson, Paul Manafort Released From Prison Amid
25    COVID-19 Fears, LAW360 (May 13, 2020), https://www.law360.com/articles/1273090/paul-
26    manafort-released-from-prison-amid-covid-19-fears.
      3
27      The Sentencing Guidelines also require that to be granted a reduction of sentence under 18
      U.S.C. § 3582(c)(1)(A), the defendant must not pose “a danger to the safety of any other person
28    or to the community, as provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2).
                                                       3
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 1    United States v. Gonzalez, No. 2:18-cr-00232-TOR, 2020 WL 1536155, at *2 (E.D. Wash. Mar.

 2    31, 2020) (noting that courts “universally” rely on U.S.S.G. § 1B1.13 to define “extraordinary

 3    and compelling reasons,” even though that policy statement was issued before Congress passed

 4    the FSA and authorized defendants to file compassionate release motions). However, a large and

 5    growing number of district courts across the country have concluded that because the Sentencing

 6    Commission has not amended the Guidelines since the enactment of the FSA, courts are not

 7    limited by the pre-FSA categories described in U.S.S.G. § 1B1.13 in assessing whether

 8    extraordinary and compelling circumstances are presented justifying a reduction of sentence

 9    under 18 U.S.C. § 3582(c). See, e.g., United States v. Parker, __ F. Supp. 3d __, 2020 WL

10    2572525, at *8–9 (C.D. Cal. May 21, 2020) (collecting cases); United States v. Rodriguez, 424 F.

11    Supp. 3d 674, 681 (N.D. Cal. 2019).

12           In the past, when moving for relief under 18 U.S.C. § 3582(c), it was recognized that the

13    defendant bore the initial burden of demonstrating that a sentence reduction was warranted. See

14    United States v. Sprague, 135 F.3d 1301, 1306–07 (9th Cir. 1998). While the Ninth Circuit has

15    not specifically addressed the question of which party bears the burden in the context of a motion

16    for compassionate brought pursuant to § 3582(c) as amended by the FSA, district courts that have

17    done so have agreed that the burden remains with the defendant. See, e.g., United States v.

18    Greenhut, No. 2:18-cr-00048-CAS, 2020 WL 509385, *1 (C.D. Cal. Jan. 31, 2020); United States

19    v. Van Sickle, No. 18-cr-0250-JLR, 2020 WL 2219496, *3 (W.D. Wash. May 7, 2020).

20                                                  ANALYSIS
21           As district courts have summarized, in analyzing whether a defendant is entitled to

22    compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i), the court must determine whether a

23    defendant has satisfied three requirements:

24                   First, as a threshold matter, the statute requires defendants to exhaust
                     administrative remedies. 18 U.S.C. § 3582(c)(1)(A). Second, a
25                   district court may grant compassionate release only if “extraordinary
                     and compelling reasons warrant such a reduction” and “that such
26                   reduction is consistent with applicable policy statements issued by
                     the Sentencing Commission. Id. Third, the district court must also
27                   consider “the factors set forth in Section 3553(a) to the extent that
                     they are applicable.” Id.
28
                                                         4
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 1    Rodriguez, 424 F. Supp. 3d at 680; see also United States v. Ramirez-Suarez, 16-cr-00124-

 2    LHK-4, 2020 WL 3869181, at *2 (N.D. Cal. July 9, 2020); Parker, 2020 WL 2572525, at *4;

 3    United States v. Trent, Case No. 16-cr-00178-CRB-1, 2020 WL 1812242, at *2 (N.D. Cal. Apr. 9,

 4    2020) (noting that as to the third factor, under 18 U.S.C. § 3582(c)(1)(A) release must be

 5    “consistent with” the sentencing factors set forth in §3553(a)).

 6    A.     Administrative Exhaustion

 7           As an initial matter, defendant Esparza failed to exhaust his administrative remedies with

 8    the BOP before filing the pending motion on April 30, 2020. Defendant states that he filed his

 9    petition with the warden requesting modification of his sentence on April 1, 2020 but has yet to

10    receive a response. (Doc. No. 368 at 4.) He asserts that the exhaustion requirement should be

11    excused as futile in his case because BOP’s normal administrative process takes at least 30 days

12    and can go on much longer given the national public health emergency. (Id. at 4–5.) The

13    government contends, however, that defendant had not submitted a request for compassionate

14    release to the warden at the time he filed his motion with the court. (Doc. No. 370 at 13; see also

15    Doc. No. 370-1, Ex. 2.) Rather, defendant’s request came weeks later when, on May 13, 2020, he

16    sent an email to the warden seeking compassionate release. (Doc. Nos. 370 at 13; 370-1, Ex. 3.)

17    Assuming the warden did not reply, defendant’s motion would not have properly been before this

18    court until June 12, 2020. (Doc. No. 370 at 14.) Five days after defendant filed his petition,

19    however, the warden did reply, denying the request and explaining that there was no evidence of

20    defendant suffering from any debilitating medical condition, an inability to “self-carry
21    medication,” or a condition that confined defendant to a chair or bed for more than 50 percent of

22    his waking hours. (Id.; Doc. No. 370-1, Ex. 4.)4

23           As the COVID-19 virus continues to spread, district courts across the country have been

24    presented with the question of whether § 3582(c)(1)(A)’s administrative exhaustion provision for

25    defendants seeking to bring compassionate release motions in federal court can be excused.

26    4
        Defendant has presented no evidence of, or even made mention of, pursuing an administrative
27    appeal from the Warden’s denial of his request to the BOP’s Regional Director as required under
      28 C.F.R. § 542.15(a). See above note 2. Nonetheless the court will address the motion on its
28    merits despite any failure to exhaust.
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 1    Some court have found that it can be, see, e.g., United States v. Connell, __ F. Supp. 3d __, 2020

 2    WL 2315858 (N.D. Cal. May 8, 2020), while others have held that the exhaustion requirement is

 3    jurisdictional and cannot be excused under any circumstances, see, e.g., United States v. Meron,

 4    No. 2:18-cr-0209-KJM, 2020 WL 1873900 (E.D. Cal. Apr. 15, 2020). For the purposes of

 5    resolving the pending motion, however, this court need not resolve this issue. As discussed

 6    below, the court finds that the pending motion for compassionate release fails to establish

 7    extraordinary and compelling reasons warranting defendant Esparza’s release. Moreover, even if

 8    the pending motion did establish such extraordinary and compelling reasons, the court further

 9    finds that the requested reduction in defendant’s sentence would be inconsistent with

10    consideration of the sentencing factors set forth at 18 U.S.C. § 3553(a).

11           Accordingly, the court declines to address whether defendant has satisfied the

12    administrative exhaustion requirement under § 3582(c)(1)(A) or may be relieved of the obligation

13    to do so and instead turns to the merits of the pending motion.

14    B.     Extraordinary and Compelling Reasons

15           “Extraordinary and compelling reasons” warranting compassionate release may exist

16    based on a defendant’s medical conditions, age and other related factors, family circumstances, or

17    “other reasons.” U.S.S.G. § 1B1.13, cmt. n.1 (A)–(D). Even though the catch-all of “other

18    reasons” was included in the policy statement at a time when only BOP could bring a

19    compassionate release motion, courts have agreed that it may be relied upon by defendants

20    bringing their own motions under the FSA. See, e.g., United States v. Kesoyan, No. 2:15-cr-236-
21    JAM, 2020 WL 2039028, at *3–4 (E.D. Cal. Apr. 28, 2020) (collecting cases).

22           Thus, the medical condition of a defendant may warrant compassionate release where he

23    or she “is suffering from a terminal illness (i.e., a serious and advanced illness with an end of life

24    trajectory),” though “[a] specific prognosis of life expectancy (i.e., a probability of death within a

25    specific time period) is not required.” U.S.S.G. § 1B1.13, cmt. n.1 (A)(i). Non-exhaustive

26    examples of terminal illnesses that may warrant a compassionate release “include metastatic
27    solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease, and advanced

28    dementia.” Id. In addition to terminal illnesses, a defendant’s debilitating physical or mental
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 1    condition may warrant compassionate release, including when:

 2                   The defendant is
 3                   (I) suffering from a serious physical or medical condition,
 4                   (II) suffering from a serious functional or cognitive impairment, or
 5                   (III) experiencing deteriorating physical or mental health because of
                     the aging process,
 6
                     that substantially diminishes the ability of the defendant to provide
 7                   self-care within the environment of a correctional facility and from
                     which he or she is not expected to recover.
 8

 9    Id. at cmt. n.1 (A)(ii). Where a defendant has moderate medical issues that otherwise might not

10    be sufficient to warrant compassionate release under ordinary circumstances, some courts have

11    concluded that the risks posed by COVID-19 tips the scale in favor of release in particular

12    situations. See, e.g., United States v. Rodriguez, No. 2:03-cr-00271-AB, 2020 WL 1627331 at

13    *10–11 (E.D. Pa. Apr. 1, 2020) (“Without the COVID-19 pandemic—an undeniably

14    extraordinary event—Mr. Rodriguez’s health problems, proximity to his release date, and

15    rehabilitation would not present extraordinary and compelling reasons to reduce his sentence.

16    But taken together, they warrant reducing his sentence.”).

17           Compassionate release may also be warranted based on a defendant’s age and other

18    related factors. In these situations, “extraordinary and compelling reasons” exist where a

19    “defendant (i) is at least 65 years old; (ii) is experiencing a serious deterioration in physical or

20    mental health because of the aging process; and (iii) has served at least 10 years or 75 percent of
21    his or her term of imprisonment, whichever is less.” U.S.S.G. § 1B1.13, cmt. n.1(B). In

22    determining a defendant’s projected release date, courts may take into account any “good time

23    credits” awarded to the defendant by BOP for “exemplary” behavior in prison as set forth in 18

24    U.S.C. § 3624(b)(1). See, e.g., United States v. Burrill, No. 17-cr-00491-RS, 2020 WL 1846788,

25    at *1 n.1 (N.D. Cal. Apr. 10, 2020).

26           Here, defendant argues that extraordinary and compelling reasons warranting his
27    compassionate release exist because of the conditions at FCI Danbury related to the COVID-19

28    pandemic and because he suffers from high blood pressure, high cholesterol, and obesity. (Doc.
                                                          7
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 1    No. 368 at 1–2.) Defendant also asserts that FCI Danbury: (1) lacks social distancing measures

 2    because of the dorm-style housing, (2) has inadequate screening and testing, (3) fails to

 3    adequately isolate individuals who have tested positive for COVID-19, (4) has sanitation and

 4    hygiene issues, (5) inadequately enforces mask usage against correctional staff and prisoners, (6)

 5    has left non-virus medical needs unattended, and (7) does not provide access to doctors for

 6    prisoners who do not present with a fever during sick call, or inmates who have sick call requests

 7    unrelated to the virus. (Id.)

 8            The government counters that defendant’s medical conditions—high blood pressure, high

 9    cholesterol, and obesity with a BMI below 40—do not constitute extraordinary and compelling

10    reasons warranting compassionate release. (Doc. No. 370 at 17–19.) In particular, the

11    government contends that defendant’s medical conditions neither fall within any of the

12    recognized categories listed in the Sentencing Commission’s policy statement as criteria that may

13    warrant compassionate release, (id. at 17) (citing USSG § 1B.1.13), nor are they recognized by

14    the CDC as high-risk factors with respect to COVID-19 (id. at 17–18). The government notes

15    that defendant’s high blood pressure and high cholesterol are both being appropriately managed

16    by BOP, and neither are identified by CDC as high risk factors. (Id. at 18–19.) Additionally, the

17    government avers that defendant’s medical records do not demonstrate that he fits within the

18    CDC’s definition of severely obese, as his BMI is lower than 40. (Id. at 19.) The court notes that

19    on July 30, 2020—after the government filed its response—the CDC updated its list of risk

20    factors; high blood pressure and a BMI of 30 or above are now considered risk factors. See
21    People with Certain Medical Conditions, Centers for Disease Control and Prevention,

22    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

23    conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-

24    ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last reviewed August 11, 2020).

25    Additionally, the government concedes that a chronic medical condition that has been identified

26    by the CDC as increasing a person’s risk of becoming severely ill from COVID-19, “in
27    combination with the likelihood that a defendant may contract COVID-19 and suffer severe

28    /////
                                                        8
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 1    symptoms as a result—may satisfy the standard of ‘extraordinary and compelling reasons.’”

 2    (Doc. No. 370 at 18.)

 3           In light of recent developments at FCI Danbury, the court finds this to be a relatively close

 4    case as to whether defendant has satisfied his burden of showing that “extraordinary and

 5    compelling reasons” exist in his case. While defendant is not “terminally ill, or subject to a

 6    serious and unrecoverable condition that makes him unable to ‘provide self-care’ within a BOP

 7    facility,” high blood pressure and obesity are high risk factors in connection with COVID-19.

 8    When the government filed its opposition to the pending motion on May 21, 2020, 22 prisoners

 9    and 2 staff members at FCI Danbury had been diagnosed with COVID-19, 60 prisoners and 58

10    staff members had recovered from the virus, and one prisoner had died. (Doc. No. 370 at 9.) As

11    of August 17, 2020, the BOP now reports that 0 prisoners and 1 staff members at that prison are

12    now confirmed as active COVID-19 cases. See https://www.bop.gov/coronavirus/ (last reviewed

13    August 11, 2020). Thus, it appears that in the past two months, the active COVID-19 virus cases

14    at FCI Danbury decreased significantly to the point of zero active cases among prisoners

15    incarcerated at that prison. This development has convinced the court that the defendant’s

16    medical conditions and the fact that some of those conditions place him at higher risk of

17    becoming seriously ill if infected by COVID-19, when considered in combination with the status

18    of the virus outbreak at his institution of confinement, do not constitute extraordinary and

19    compelling reasons warranting a reduction of his sentence or his immediate release.

20    C.     Consistency With the § 3553(a) Factors
21           Finally, even if defendant’s motion were supported by a showing of extraordinary and

22    compelling reasons for his compassionate release, the undersigned is not persuaded that the

23    requested reduction in sentence would be consistent with the sentencing factors set forth at 18

24    U.S.C. § 3553(a).5 See Parker, 2020 WL 2572525, at *11.

25    5
        Title 18 U.S.C. § 3553(a) provides that, in determining the sentence to be imposed, the court
26    shall consider: the nature and circumstances of the offense and the history and characteristics of
      the defendant; the need for the sentence imposed to reflect the seriousness of the offense, promote
27    respect for the law, provide just punishment for the offense, afford adequate deterrence, protect
      the public from further crimes of the defendant and provide the defendant with needed
28    educational or vocational training, medical care, or other correctional treatment in the most
                                                         9
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 1           First, as noted above, defendant is currently serving a 120-month sentence for conspiracy

 2    to distribute and possess with intent to distribute 50 grams or more of actual methamphetamine or

 3    500 grams or more of a mixture or substance containing a detectable amount of

 4    methamphetamine substance. (See Doc. Nos. 328, 337.) At the time of his sentencing on March

 5    25, 2019, defendant Alfonso Esparza was held responsible for 1,075.9 grams of actual

 6    methamphetamine and for possessing a stolen firearm near the methamphetamine and drug

 7    paraphernalia. (Doc. No. 328 at 7.) With his early acceptance of responsibility, the U.S.

 8    Probation Office determined that the defendant’s total offense level was 34, that his significant

 9    criminal history including prior drug convictions placed him in criminal history category VI,

10    calling for a sentence of imprisonment under the advisory sentencing guidelines of between 262

11    to 327 months. (Id. at 14.) The probation officer recommended a low-end of the guideline range

12    sentence of 262 months in BOP custody. (Id.) After considering the § 3553(a) factors and other

13    matters, the undersigned varied and departed downward from the advisory guideline range and

14    sentenced defendant to a 120-month term of imprisonment. (Doc. No. 339.)

15           As noted, defendant Esparza’s significant criminal history placed him in category VI of

16    the Sentencing Guidelines. He had suffered prior drug convictions and the case agent identified

17    him during the investigation as a supplier of methamphetamine and a Bulldogs gang member.

18    (See Doc. No. 328 at 5, 9–11.) In light of this background, consideration of the risk of recidivism

19    on the part of the defendant weighs to some degree against the granting of compassionate release.

20    See, e.g., United States v. Drummondo-Farias, No. 1:12-cr-001740-JMS, 2020 WL 2616119, at
21    *6 (D. Haw. May 19, 2020) (denying compassionate release to a defendant in part because had

22    been twice convicted of drug offenses).

23           In addition, the court is not persuaded that defendant has established his post–offense

24    rehabilitation since his sentencing just a little over a year ago. Defendant argues that while

25    effective manner; the kinds of sentences available; the kinds of sentence and the sentencing range
26    established for the applicable category of offense committed by the applicable category of
      defendant as set forth in the guidelines; any pertinent policy statement issued by the Sentencing
27    Commission; the need to avoid unwarranted sentence disparities among defendants with similar
      records who have been found guilty of similar conduct; and the need to provide restitution to any
28    victims of the offense.
                                                         10
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 1    imprisoned at FCI Danbury, he has completed his GED. (Doc. No. 368 at 2.) While this effort is

 2    laudable, it does not appear that defendant has yet had sufficient time to complete the 500-Hour

 3    Bureau of Prisons Substance Abuse Treatment Program, which the court recommended at

 4    sentencing. (Doc. No. 339 at 2.) Cf. Parker, 2020 WL 2572525, at *11 (granting a defendant

 5    compassionate release in part because he demonstrated rehabilitation during his imprisonment by

 6    earning two associate degrees, participating in other continuing education courses and working as

 7    an education instructor, “suicide companion,” and career services clerk) (collecting cases).

 8    Moreover, even if defendant Esparza had demonstrated his full rehabilitation since September 10,

 9    2018, rehabilitation alone is not enough to warrant compassionate release. See 28 U.S.C.

10    § 994(t); U.S.S.G. § 1B1.13, cmt. n.3.

11           Furthermore, it appears that the granting of compassionate release to defendant Esparza

12    would potentially create an unwarranted sentencing disparity among the defendants in this case; a

13    case in which defendant Alonso Esparza already received a more significant downward

14    departure/variance from the advisory guidelines when he was originally sentenced than that

15    reflected in the sentences of his co-defendants. See 18 U.S.C. § 3553(a)(6).

16           As of the date of this order, defendant Esparza has served only 16 months of the 120-

17    month sentence, or approximately 13 percent. See United States v. Lonich, No. 1:14-cr-00139-SI-

18    1, 2020 WL 26148743, at *3 (N.D. Cal. May 21, 2020) (denying motions for compassionate

19    release, noting, “the Court finds it significant that defendants have served far less than half of

20    their sentences”); United States v. Shayota, No. 1:15-cr-00264-LHK-1, 2020 WL 2733993 at *6
21    (N.D. Cal. May 26, 2020) (“‘The length of the sentence remaining is an additional factor to

22    consider in any compassionate release analysis,’ with a longer remaining sentence weighing

23    against granting any such motion.”) (quoting Connell, 2020 WL 2315858, at *6). In the court’s

24    view, a further reduction of his sentence would not adequately reflect the seriousness of

25    defendant’s offense of conviction, promote respect for the law, provide just punishment, or afford

26    adequate deterrence to criminal conduct. See United States v. Purry, No. 2:14-cr-00332-JAD-
27    VCF, 2020 WL 2773477, at *2 (D. Nev. May 28, 2020); Shayota, 2020 WL 2733993 at *5; 18

28    U.S.C. § 3553(a).
                                                         11
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 1                                             CONCLUSION

 2           Because defendant Esparza has failed to demonstrate that “extraordinary and compelling”

 3    reasons exist justifying his release under 18 U.S.C. § 3582(c)(1)(A) or that his release from

 4    imprisonment at this time would be consistent with the sentencing factors set forth in 18 U.S.C.

 5    § 3553(a), his motion for compassionate release (Doc. No. 368) is denied without prejudice to a

 6    future motion should the circumstances relied upon above change significantly.6

 7    IT IS SO ORDERED.
 8
          Dated:    August 17, 2020
 9                                                      UNITED STATES DISTRICT JUDGE

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        The court notes that in moving for relief, defendant Alonso Esparza has requested “a
      modification of his sentence this Court deems appropriate given his health condition and the
28    current pandemic.” (Doc. No. 368 at 12.)
                                                        12
